                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

IN RE: JANUARY 2021 SHORT                        MDL. NO. 2989
SQUEEZE TRADING LITIGATION


                                    PROOF OF SERVICE
       In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel for Multi-District Litigation, the undersigned hereby certifies that on February 23, 2021, a

copy of the foregoing was filed via the JPML CM/ECF System, which will provide electronic

service notification to all counsel of record.

Dated: February 23, 2021                         VARNELL & WARWICK, P.A.


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